Case 2:20-cv-13134-LVP-RSW ECF No. 105-1, PageID.4379 Filed 01/28/21 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  TIMOTHY KING, MARIAN ELLEN
  SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES                   No. 2-20-cv-13134
  DAVID HOOPER, and DARREN WADE
  RUBINGH,                                        HON. LINDA V. PARKER
        Plaintiffs,                               MAG. R. STEVEN WHALEN
  v

  GRETCHEN WHITMER, in her official
  capacity as Governor of the State of
  Michigan, JOCELYN BENSON, in her
  official capacity as Michigan Secretary of
  State and the Michigan BOARD OF STATE
  CANVASSERS,

        Defendants,

  CITY OF DETROIT,
       Intervening Defendant,

  ROBERT DAVIS,
      Intervening Defendant,

  DEMOCRATIC NATIONAL
  COMMITTEE and MICHIGAN
  DEMOCRATIC PARTY,

       Intervening Defendant.
  ___________________________________
  DEFENDANTS WHITMER AND BENSON’S MOTION FOR SANCTIONS
                           UNDER 28 U.S.C. § 1927

                                    EXHIBIT LIST

 A. Plaintiffs’ Petition for Writ of Certiorari
 B. Email dated 12.22.2020
Case 2:20-cv-13134-LVP-RSW ECF No. 105-1, PageID.4380 Filed 01/28/21 Page 2 of 2



 C. Wisconsin Voters v Pence, et al
 D. Declaration of Heather S. Meingast
 E. Declaration of Erik A. Grill
